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   13   ATEN INTERNATIONAL CO., LTD.
   14                      UNITED STATES DISTRICT COURT

   15                    CENTRAL DISTRICT OF CALIFORNIA

   16   ATEN TECHNOLOGY, CO. LTD.              No. 2:15-cv-04424-AG-AJW
   17
                             Plaintiff,        FINAL PRETRIAL
   18                                          CONFERENCE ORDER
   19       vs.
                                               Hearing Date: June 5, 2017
   20   UNICLASS TECHNOLOGY CO.,               Hearing Time: 10:00 a.m.
   21   LTD., et al.                           Courtroom: 10D
                                               Judge: Hon. Andrew Guilford
   22                      Defendants.
   23
   24
   25
   26
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        _________________________________________________________________
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    1         Following pretrial proceedings, pursuant to Federal Rule of Civil
    2   Procedure 16 and Local Rule 16, IT IS ORDERED:
    3         1.     The parties are:
    4         Plaintiff: Aten International Co., Ltd. (“Plaintiff” or “ATEN”)
    5         Defendants: Uniclass Technology Co., Ltd., Electronic Technology Co.,
    6   Ltd., Airlink 101, Phoebe Micro Inc., Broadtech International Co., Ltd. d/b/a
    7   Linkskey, Black Box Corporation, and Black Box Corporation of Pennsylvania
    8   (collectively “Defendants” or “Uniclass”).
    9         Each of these parties has been served and has appeared. All other parties
   10   named in the pleadings and not identified in the preceding paragraph are now
   11   dismissed.
   12         The pleadings which raise the issues are: Third Amended Complaint (Dkt.
   13   75)
   14         2.     Federal jurisdiction and venue are invoked upon the grounds of 28
   15   U.S.C. §§ 1331 and 1338(a) and 28 U.S.C. §§ 1391 (b) & (c) and 1400. Venue
   16   is proper in the Central District of California under 28 U.S.C. § 1391 because
   17   Defendants are subject to this Court’s personal jurisdiction, and because this case
   18   arises out of Defendants’ sale and promotion of products in this judicial district.
   19         3.     The trial is estimated to take six (6) trial days
   20                a.     Plaintiff’s position is that the trial will take six (6) trial days.
   21                       Further, in an effort to minimize trial time and the burden on
   22                       the Court and Jury, Plaintiff proposes that the parties reach
   23                       agreement on representative products for the issue of
   24                       infringement.
   25         4.     The trial is to be a jury trial. At least seven (7) days prior to the trial
   26   date, the parties shall file and serve by email, fax or personal delivery: (a)
   27   proposed jury instructions as required by L.R. 51-1 and (b) any special questions
   28   requested to be asked on voir dire.

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    1           5.     The following facts are admitted and require no proof: None at this
    2   time.
    3           6.     The following facts, though stipulated, shall be without prejudice to
    4   any evidentiary objection:
    5                  a.    U.S. Patent No. 7,640,289 (the “’289 patent”) was issued by
    6                        the United States Patent and Trademark Office on December
    7                        29, 2009.
    8                  b.    U.S. Patent No. 6,957,287 (the “’287 patent”) was issued by
    9                        the United States Patent and Trademark Office on October 18,
   10                        2005.
   11                  c.    U.S. Patent No. 7,472,217 (the “’217 patent”) was issued by
   12                        the United States Patent and Trademark Office on December
   13                        30, 2008.
   14                  d.    U.S. Patent No. 8,589,141 (the “’141 patent”) was issued by
   15                        the United States Patent and Trademark Office on November
   16                        19, 2013.
   17                  e.    ATEN International Co., LTD (“ATEN”) is the assignee of
   18                        all right, title and interest to the ’289, ’287, ’217 and ’141
   19                        patents.
   20           7.     Claims and Defenses
   21           Plaintiff:
   22           a.     Plaintiff plans to pursue the following claims against the following
   23                  defendants:
   24           Claim 1: Infringement of the ’289 patent. Plaintiff has pleaded and plans
   25   to pursue claims for direct infringement, willful infringement, actively inducing
   26   infringement of, and/or contributing to the infringement of claims 1 - 20 of the
   27   ’289 patent, literally and/or under the doctrine of equivalents.
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    1          Claim 2: Infringement of the ’287 patent. Plaintiff has pleaded and plans
    2   to pursue claims for direct infringement, willful infringement, actively inducing
    3   infringement of, and/or contributing to the infringement of claims 5 and 6 of the
    4   ’287 patent literally and/or under the doctrine of equivalents.
    5          Claim 3: Infringement of the ’217 patent. Plaintiff has pleaded and plans
    6   to pursue claims for direct infringement, willful infringement, actively inducing
    7   infringement of, and/or contributing to the infringement 1-4 of the ’217 patent
    8   literally and/or under the doctrine of equivalents.
    9          Claim 4: Infringement of the ’141 patent. Plaintiff has pleaded and plans
   10   to pursue claims for direct infringement, willful infringement, actively inducing
   11   infringement of, and/or contributing to the infringement of claims 1-17 and 26-
   12   27 of the ’141 patent literally and/or under the doctrine of equivalents.
   13          Claim 5: Damages. Plaintiff has pleaded and plans to pursue claims for
   14   damages, specifically a reasonable royalty, resulting from Defendants’ infringing
   15   activities as referenced above under 35 U.S.C. § 284. ATEN is also seeking
   16   treble damages as Defendants have knowingly and willfully infringed the patents
   17   in issue.
   18          Claim 6: Injunctive relief. Plaintiff has pleaded and plans to pursue claims
   19   for injunctive relief under 35 U.S.C. § 283 to prevent it from being irreparably
   20   harmed by Defendants’ infringing activities.
   21          Claim 7: Exceptional case. Plaintiff has pleaded and plans to pursue
   22   claims for an exceptional case under 35 U.S.C. § 285 as Defendants have, in
   23   breach of a fully executed and enforceable license agreement, knowingly and
   24   willfully engaged in direct infringement of the patents in issue, and have
   25   withheld financial information and data relevant to the assessment of damages.
   26          b.    The elements required to establish Plaintiff’s claims are:
   27               I.   Elements required to establish Plaintiff’s claims for direct
   28                    infringement under 35 U.S.C. § 271(a)

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    2                   i.   Whoever without authority (a) makes, (b) uses, (c) offers to
    3                        sell, or (d) sells any patented invention, within the United
    4                        States or imports into the United States any patented
    5                        invention during the term of the patent therefor, infringes the
    6                        patent.
    7                  ii.   Infringement must be determined on a claim-by-claim basis,
    8                        by showing that each element of the claim is present in the
    9                        accused product or service either literally or under the
   10                        doctrine of equivalents.
   11            II.     Elements required to establish Plaintiff’s claims for willful
   12                    infringement
   13                   i.   Willful infringement occurs when the alleged infringer acts
   14                        recklessly. 35 U.S.C. § 284; In re Seagate Tech., LLC, 497
   15                        F.3d 1360 (Fed. Cir. 2007).
   16                  ii.   Proof that an alleged infringer acts recklessly requires a
   17                        showing that:
   18                        1. the alleged infringer acted despite a high likelihood that
   19                           alleged infringer’s actions infringed a valid and
   20                           enforceable patent, and the alleged infringer did, or does,
   21                           not have a legitimate or credible defense to the
   22                           infringement, and
   23                        2. the alleged infringer actually knew, or should have known,
   24                           that its actions constituted an unjustifiably high risk of
   25                           infringement of a valid and enforceable patent. WMS
   26                           Gaming Inc. v. Int’l Game Tech., 184 F.3d 1339, 1354
   27                           (Fed. Cir. 1999).
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    1                  i.   Factors tending to show that the alleged infringer actually
    2                       knew, or should have known, that its actions constituted and
    3                       unjustifiably high right of infringement of a valid and
    4                       enforceable patent include:
    5                       1. whether the alleged infringer acted in accordance with the
    6                          standards of commerce for its industry;
    7                       2. whether the alleged infringer intentionally copied a
    8                          patented product of the patent holder;
    9                       3. whether there is a reasonable basis to believe that the
   10                          alleged infringer did not infringe or had a reasonable
   11                          defense to infringement;
   12                       4. whether the alleged infringer made a good-faith effort to
   13                          avoid infringing the patents in issue, for example, whether
   14                          the alleged infringer attempted to design around the patent
   15                          owners patents;
   16                       5. whether the alleged infringer tried to cover up its
   17                          infringement; and
   18                       6. whether the alleged infringer argues it did not act
   19                          recklessly because it relied on a legal opinion that advising
   20                          either (1) that the product did not infringe the patents in
   21                          issue or (2) that the patents in issue were invalid or
   22                          unenforceable. Knorr-Bremse v. Dana Corp., 383 F.3d
   23                          1337 (Fed. Cir. 2004) (en banc).
   24           III.    Elements required to establish Plaintiff’s claims for actively
   25                   inducing infringement under 35 U.S.C. § 271(b)
   26                  i.   Whoever actively induces infringement of a patent shall be
   27                       liable as an infringer.
   28

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    1                  ii.   35 U.S.C. § 271(b) requires an act of direct infringement, as
    2                        well as proof that the accused inducer acted with knowledge
    3                        that the induced acts constitute patent infringement. Global
    4                        Tech Appliances, Inc. v. SEB S.A., 563 U.S. (2011).
    5                 iii.   Actual knowledge of patent infringement may be fulfilled by
    6                        “willful blindness” that defendant:
    7                        1. subjectively believed there was a high probability a patent
    8                           existed, and
    9                        2. made deliberate actions to avoid learning of that fact. Id.
   10           IV.      Elements required to establish Plaintiff’s claims for contributory
   11                    infringement under 35 U.S.C. § 271(c)
   12                   i.   An alleged infringer is liable for contributory infringement by
   13                        contributing to the direct infringement of the patent.
   14                  ii.   Indirect infringement must be determined on a claim-by-
   15                        claim basis.
   16                 iii.   An alleged infringer is liable for contributory infringement of
   17                        a claim if the patent owner proves by a preponderance of the
   18                        evidence:
   19                        1. An alleged infringer sells, offers to sell, or imports within
   20                           the United States a component of a product, or apparatus
   21                           for use in a process, during the time the patent(s) in issue
   22                           are in force;
   23                        2. the component or apparatus has no substantial,
   24                           noninfringing use;
   25                        3. the component or apparatus constitutes a material part of
   26                           the invention;
   27                        4. An alleged infringer is aware of the patent(s) in issue and
   28                           knows that the products or processes for which the

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    1                           component or apparatus has no other substantial use may
    2                           be covered by a claim of the patent(s) in issue or may
    3                           satisfy a claim of the patent(s) in issue under the doctrine
    4                           of equivalents; and
    5                        5. that use directly infringes the claim(s).
    6                 iv.    In order to prove contributory infringement, the patent holder
    7                        must prove that each of the above requirements is met by a
    8                        preponderance of the evidence.
    9            V.      Elements required to establish Plaintiff’s claims for damages
   10                    under 35 U.S.C. § 284
   11                   i.   The patent owner must prove infringement of the claims of
   12                        the patent.
   13                  ii.   The patent owner must also prove the amount of damages it is
   14                        entitled to.
   15                 iii.   The damage amount must be in an amount adequate to
   16                        compensate the Plaintiff for the infringement.
   17                 iv.    The damage award cannot be less than a reasonable royalty.
   18           VI.      Elements required to establish Plaintiff’s claim for Reasonable
   19                    Royalty
   20                   i.   A reasonable royalty rate based on the facts of the case
   21                  ii.   Relevant factors from the Georgia-Pacific Factors:
   22                        1. The royalties received by the patentee for the licensing of
   23                           the patent in suit, proving or tending to prove an
   24                           established royalty.
   25                        2. The rates paid by the licensee for the use of other patents
   26                           comparable to the patent in suit.
   27                        3. The nature and scope of the license, as exclusive or non-
   28                           exclusive; or as restricted or non-restricted in terms of

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    1                       territory or with respect to whom the manufactured
    2                       product may be sold.
    3                    4. The licensor’s established policy and marketing program
    4                       to maintain his patent monopoly by not licensing others to
    5                       use the invention or by granting licenses under special
    6                       conditions designed to preserve that monopoly.
    7                    5. The commercial relationship between the licensor and
    8                       licensee, such as, whether they are competitors in the same
    9                       territory in the same line of business; or whether they are
   10                       inventor and promoter.
   11                    6. The effect of selling the patented specialty in promoting
   12                       sales of other products of the licensee; the existing value
   13                       of the invention to the licensor as a generator of sales of
   14                       his non-patented items; and the extent of such derivative
   15                       or convoyed sales.
   16                    7. The duration of the patent and the term of the license.
   17                    8. The established profitability of the product made under the
   18                       patent; its commercial success; and its current popularity.
   19                    9. The utility and advantages of the patent property over the
   20                       old modes or devices, if any, that had been used for
   21                       working out similar results.
   22                    10.The nature of the patented invention; the character of the
   23                       commercial embodiment of it as owned and produced by
   24                       the licensor; and the benefits to those who have used the
   25                       invention.
   26                    11.The extent to which the infringer has made use of the
   27                       invention; and any evidence probative of the value of that
   28                       use.

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 1                      12.The portion of the profit or of the selling price that may be
 2                         customary in the particular business or in comparable
 3                         businesses to allow for the use of the invention or
 4                         analogous inventions.
 5                      13.The portion of the realizable profit that should be credited
 6                         to the invention as distinguished from non-patented
 7                         elements, the manufacturing process, business risks, or
 8                         significant features or improvements added by the
 9                         infringer.
10                      14.The opinion testimony of qualified experts.
11                      15.The amount that a licensor (such as the patentee) and a
12                         licensee (such as the infringer) would have agreed upon (at
13                         the time the infringement began) if both had been
14                         reasonably and voluntarily trying to reach an agreement;
15                         that is, the amount which a prudent licensee—who
16                         desired, as a business proposition, to obtain a license to
17                         manufacture and sell a particular article embodying the
18                         patented invention—would have been willing to pay as a
19                         royalty and yet be able to make a reasonable profit and
20                         which amount would have been acceptable by a prudent
21                         patentee who was willing to grant a license. Georgia-
22                         Pacific Corp. v. United States Plywood Corp., 318 F.
23                         Supp. 1116, 1120 (S.D.N.Y. 1970); Panduit Corp. v.
24                         Stahlin Bros. Fibre Works, Inc., 575 F.2d 1152 (6th Cir.
25                         1978).
26          VII.    Elements required to establish Plaintiff’s claim for injunctive
27                  relief under 35 U.S.C. §283
28                 i.   The patent owner has suffered irreparable harm;

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 1                     ii.   The remedies available at law (such as money damages) are
 2                           inadequate to compensate for that injury;
 3                    iii.   The balance of hardships between the parties warrant a
 4                           remedy in equity; and
 5                    iv.    The public interest would not be disserved by an injunction.
 6                           eBay Inc. v. MercExchange LLC, 126 S. Ct. 1837, 1839
 7                           (2006).
 8            VIII.      Elements required to establish an Exceptional Case under 35
 9                       U.S.C. § 285
10                      i.   A case may be found to be “exceptional” under section 285,
11                           after considering “totality of the circumstances” for any one
12                           or more of three broad reasons:
13                           1. lack of substantive strength of litigating position,
14                           2. unreasonable conduct, or
15                           3. subjective bad faith.
16   Octane Fitness, LLC v. ICON Health & Fitness, Inc., 134 S. Ct. 1749 (2014);
17   ICON Health & Fitness, Inc. v. Octane Fitness, LLC, 576 F. App’x 1002, 1005
18   (Fed. Cir. 2014).
19         After the Court finds a case to be “exceptional,” the Court must still decide
20   whether an award of attorney fees is appropriate and, if so, the amount of fees to
21   award.
22         c.     In brief, the key evidence Plaintiff relies on for each of the claims is:
23         ATEN asserts claims against Uniclass for (1) direct infringement, (2)
24   induced infringement, and (3) contributory infringement of the patents referenced
25   above. ATEN also has claims for damages, willful infringement and injunctive
26   relief, and maintains that this is an exceptional case.
27         The key evidence in support of ATEN’s claims against Uniclass includes
28   the expected testimony of its witnesses; the Exhibits in ATEN’s Exhibit List and

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 1   the parties’ joint Exhibit List; Uniclass’s exhibits and witnesses, both live and via
 2   deposition; and the testimony and opinions of ATEN’s experts outlined in the
 3   following reports and cited exhibits:
 4              Opening Expert Report of Dr. Tal Lavian, Regarding Infringement
 5              Rebuttal Expert Report of Dr. Tal Lavian, Regarding Validity
 6              Expert Report of Jeffrey G. Snell
 7                a)     Direct Infringement
 8         The key evidence in support of ATEN’s claims for direct infringement
 9   consists of the expected testimony of its expert, Dr. Lavian, outlined in the
10   Opening Expert Report of Dr. Tal Lavian, Regarding Infringement, attached
11   exhibits, and cited documents; the exhibits cited on the parties’ various exhibit
12   lists, for example documentation and source code related to the accused Uniclass
13   products; and deposition and live testimony of Uniclass’s witnesses.
14         ATEN will show through the evidence referenced above that Defendants
15   directly infringed the patents in issue. Moreover, Defendants breached the
16   license agreement by discontinuing payment of royalties. Uniclass’s 30(b)(6)
17   witness testified that there was a fully executed, enforceable license agreement,
18   and that payments were not made, as per the terms of that agreement.
19                b)     Willful Infringement
20         The key evidence in support of ATEN’s claims for willful infringement
21   consists of the expected testimony of its expert Dr. Lavian, set forth in the
22   Opening Expert Report of Dr. Tal Lavian, Regarding Infringement and the
23   exhibits cited therein; the exhibits cited on the parties’ various exhibit lists, for
24   example documentation and source code related to the accused Uniclass
25   products; and deposition and live testimony of Uniclass’s witnesses.
26         ATEN will show through the evidence referenced above that Defendants
27   had knowledge of the patents in issue, as evidenced by the license agreement
28   between the parties and recklessly engaged in willful infringement.

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 1                c)     Induced Infringement
 2         The key evidence in support of ATEN’s claims for induced infringement
 3   consists of the expected testimony of its expert Dr. Lavian, set forth in the
 4   Opening Expert Report of Dr. Tal Lavian, Regarding Infringement and the
 5   exhibits cited therein; the exhibits cited on the parties’ various exhibit lists, for
 6   example documentation and source code related to the accused Uniclass
 7   products; and deposition and live testimony of Uniclass’s witnesses.
 8         ATEN will show through the evidence referenced above that Defendants
 9   induced infringement of the patents in issue.
10         For example, Uniclass induced third parties to directly infringe ATEN’s
11   patents, including by rebranding its products for third parties to sell in the United
12   States. Uniclass knew or acted in blatant disregard for the fact that such use
13   infringed ATEN’s patents in suit. These directly infringing third parties include
14   Airlink and Linkskey. (Dkt. 1.)
15                d)     Contributory Infringement
16          The key evidence in support of ATEN’s claims for contributory
17   infringement consists of the expected testimony of its expert Dr. Lavian, set forth
18   in the Opening Expert Report of Dr. Tal Lavian, Regarding Infringement and in
19   the exhibits cited therein; the Rebuttal Expert Report of Dr. Tal Lavian,
20   Regarding Validity and the exhibits cited therein;; the exhibits cited on the
21   parties’ various exhibit lists, for example documentation and source code related
22   to the accused Uniclass products; and deposition and live testimony of Uniclass’s
23   witnesses.
24         ATEN will show through the evidence referenced above that Defendants
25   contributed to infringement of the patents in issue. For example, Uniclass
26   knowingly and continuously made and sold products, without authorization,
27   which were covered by the patents in issue and, which had no substantial non-
28   infringing uses.

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 1                e)     Damages
 2         The key evidence in support of ATEN’s claims for damages consists of the
 3   expected testimony of its expert Dr. Lavian, set forth in the Opening Expert
 4   Report of Dr. Tal Lavian, Regarding Infringement and in the exhibits cited
 5   therein; expected testimony of its damages expert Dr. Jeffrey G. Snell, set forth
 6   in the Expert Report of Jeffrey G. Snell; the exhibits cited on the parties’ various
 7   exhibit lists, for example documentation and source code related to the accused
 8   Uniclass products; and deposition and live testimony of the parties’ witnesses.
 9         ATEN will show through the evidence referenced above that it should be
10   awarded damages for Defendants infringement of the patents in issue. For
11   example, ATEN has suffered due to Defendants willful infringing activities.
12   ATEN will be seeking treble damages due to Defendants willful infringement of
13   the patents in issue.
14                f)     Injunctive relief
15         The key evidence in support of ATEN’s claims for injunctive relief
16   consists of the expected testimony of its expert Dr. Lavian, set forth in the
17   Opening Expert Report of Dr. Tal Lavian, Regarding Infringement and in the
18   exhibits cited therein; the Rebuttal Expert Report of Dr. Tal Lavian, Regarding
19   Validity and the exhibits cited therein; the exhibits cited on the parties’ various
20   exhibit lists, for example documentation and source code related to the accused
21   Uniclass products; and deposition and live testimony of the parties’ witnesses.
22         ATEN will show through the evidence referenced above that injunctive
23   relief is necessary to prevent irreparable harm due to Defendants’ infringing
24   activities. If Defendants are not estopped from engaging in infringing activities
25   ATEN will be divested of its rights granted under 35 U.S.C. §271, which is in
26   direct conflict with the statutory intent of spurring innovation.
27                g)     Exceptional case
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 1         The key evidence in support of ATEN’s claims for an exceptional case
 2   directly consists of the expected testimony of its expert Dr. Lavian, set forth in
 3   the Opening Expert Report of Dr. Tal Lavian, Regarding Infringement and in the
 4   exhibits cited therein; the Rebuttal Expert Report of Dr. Tal Lavian, Regarding
 5   Validity and the exhibits cited therein; the exhibits cited on the parties’ various
 6   exhibit lists, for example documentation and source code related to the accused
 7   Uniclass products; and deposition and live testimony of the parties’ witnesses,
 8   including Mr. Kevin Chen, Uniclass CEO, and Mr. Alex Kuan, Uniclass
 9   President.
10         ATEN will show through the evidence referenced above that the case
11   before the Court is in fact an exceptional case as Defendants continued in this
12   litigation without a litigation position of substantive strength. This is
13   demonstrated by Defendants’ actions in regard to breaching the fully executed
14   license agreement and failure to investigate the validity of the patents in issue.
15   Further, Defendants acted unreasonably as there was never a line of
16   communication established between the parties to discuss the license agreement
17   or the validity of the patents in issue. Defendants’ bad faith conduct was shown
18   when it discontinued royalty payments under the agreement without putting the
19   owed monies into escrow pending investigation into the validity of the patents, or
20   the outcome of this litigation.
21         Defendants:
22         a.      Defendants’ Positions as to Plaintiff’s Infringement Claims
23         During this litigation, Aten has asserted infringement of 72 claims across
24   six patents against over 125 of Defendants’ products. These patents and claims
25   included U.S. Patent Nos.:
26               6,957,287 (“’287 Patent”), claims 1, 3-7;
27               7,472,217 (“’217 Patent”), claims 1, 3-7;
28               7,640,289 (“’289 Patent”), claims 1-20;

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 1              8,589,141 (“’141 Patent”), claims 1-27;
 2              6,564,275 (“’275 Patent”), claim 45; and,
 3              7,035,112 (“’112 Patent”), claims 1, 12-19, and 21-23.
 4   (collectively the “Asserted Patents”).
 5         After claim construction, extensive discovery, motion practice, and
 6   reconciliation of its initial contentions, Aten has abandoned its infringement
 7   contentions as to the ’275 and ’112 Patents, and their asserted claims, as well as
 8   numerous other claims of the Asserted Patents, and most of the initially accused
 9   products. Additionally, after the Court granted Defendants’ Motion to Strike
10   Aten’s Final Infringement Contentions Disclosed Through Its Expert Report,
11   (see Order at dkt. no. 345), the parties were directed to identify the claims and
12   accused products that do not depart substantially from Aten’s Original
13   Contentions. After meeting and conferring to reach agreement as to what accused
14   products remained, the parties filed a report informing the Court that they had
15   reached an agreement as to some but not all of the accused products that
16   remained. (See Dkt. No. 350.)
17         On April 24, 2017, the Court entered its Order Granting in part and
18   Denying in part Defendants’ Partial Motion for Summary Judgment of
19   Noninfringement of some of the Asserted Claims. (Dkt. No. 364). However,
20   because the parties cannot fully agree as to what accused products remain to be
21   addressed at trial (see dkt. no. 350), Defendants present the following two tables
22   to help identify what Asserted Claims and accused products remain and where
23   the parties are in disagreement.
24         In view of the Court’s recent orders concerning Defendants’ motion to
25   strike and for summary judgement of noninfringement, Defendants contend that
26   only the following Asserted Patents, claims, and accused products remain to be
27   addressed at the June 20, 2017 trial:
28

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 1     Defendants’ Identification of Accused Products, Asserted Patents and Claims
 2        Patents/Claims*           Accused Products (representative and linked
 3                                                products)
 4    ’287 Claim: 1            Rep. product: UDV-TA2
 5                             Linked products: UDP-TA2; UHV-TA2; USB-TA2
 6
      ’287 Claims: 1, 5, and   Rep. product: UKA-248
 7
      6
 8                             Linked products: no linked products
 9    ’217 Claims: 1, 3, and
      4
10    ’289 Claims: 1-20        Rep. product: None*
11
                               (*Aten only analyzed the Prima 8 product in its
12
                               Original Contentions and not the presently accused
13                             Prima T 4/8/16 products, which products are, and
14                             have never been, sold in the United States.)
15                             Linked products: None
16
      ’141 Claims: 1-15, 26,   Rep. product: None*
17
      and 27
18                             (*Aten only analyzed the Prima 8 product in its
19                             Original Contentions and not the presently accused
                               Prima T 4/8/16 products, which products are, and
20                             have never been, sold in the United States.)
21
                               Linked products: None.
22
23    ’141 Claims: 1-17, 26,   Rep. product: AD-CP02A
24    and 27
                               Linked products: AD-EP04A
25
26   (* collectively the “Remaining Asserted Claims”).
27         As presently understood by Defendants, and in view of the Court’s order
28   on summary judgement of noninfringement, Aten contends that infringement of

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 1   the following Asserted Patents, claims, and accused products remain to be
 2   addressed at the June 20, 2017 trial:
 3        Aten’s Identification of Accused Products, Asserted Patents and Claims
 4      Patents/Claims*        Accused Products (representative and linked products)
 5    ’287 Claims: 1, 5,      Rep. product: UDV-TA2
      and 6
 6                            Linked products: UDP-TA2; UHV-TA2; USB-TA2;
 7                            USB-SP02A; and, USB-SP04A
 8
      ’287 Claims: 1, 5,      Rep. product: UKA-248
 9    and 6
10                            Linked products: no linked products
      ’217 Claims: 1, 3,
11    and 4
12    ’289 Claims: 1-20       Rep. product: Prima T8
13
                              Linked products: Prima T4 and Prima T16
14
15    ’141 Claims: 1-17,      Rep. product: Prima T8
16    26, and 27              Linked products: Prima T4 and Prima T16
17
      ’141 Claims: 1-17,      Rep. product: AD-CP02A
18
19    26, and 27              Linked products:AD-EP04A; AH-832A and 834A; AI-
20                            832A and 834A; AL-832A and 834A; AP-832A and
                              834A; AD-202A and 204A; AH-202A and 204A; AD-
21                            502D and 504D; AD-502V and 504V; AD-702D and
22                            704D; AD-702V and 704V; AL-702D and 704D
23         In summary, it is Defendants’ position that only seven (7) accused
24   products should be decided at trial are:
25            1. UDV-TA2;
26            2. UDP-TA2;
27            3. UHV-TA2;
28            4. USB-TA2;

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 1               5. UKA-248;
 2               6. AD-CP02A; and,
 3               7. AD-EP04A.
 4   (“Defendants’ List of Remaining Accused Products”).
 5         In addition to these seven (7) accused products from Defendants’ List of
 6   Remaining Accused Products, Aten contends that the following twenty-seven
 7   (27) products also remain at issue for trial, for a total of thirty-four (34) accused
 8   products:
 9               8. USB-SP02A;
10               9. USB-SP04A;
11               10.AH-832A;
12               11.AH-834A;
13               12.AI-832A;
14               13.AI-834A;
15               14.AL-832A;
16               15.AL-834A;
17               16.AP-832A;
18               17.AP-834A;
19               18.AD-202A;
20               19.AD-204A;
21               20.AH-202A;
22               21.AH- 204A;
23               22.AD-502D;
24               23.AD-504D;
25               24.AD-502V;
26               25.AD-504V;
27               26.AD-702D;
28               27.AD-704D;

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 1              28.AD-702V;
 2              29.AD-704V;
 3              30.AL-702D;
 4              31.AL-704D;
 5              32.Prima T8;
 6              33.Prima T4; and,
 7              34.Prima T16
 8          (“Aten’s List of Remaining Accused Products”). (See Tables above.)
 9   Aten’s List of Remaining Accused Products should be rejected as explained in
10   the parties’ joint filing with the Court entitled: The Parties’ Respective Proposed
11   Representative and Linked Products (Dkt. 350). In sum, Aten’s list of 27
12   additional products should be rejected because they were not properly disclosed
13   in Aten’s Original Contentions.
14         Plaintiff contends that Defendants literally infringe the Patents/Claims
15   identified in table above in the left hand column, as well as infringing claim 1 of
16   the ’287 Patent under the doctrine of equivalents. Aten also asserts that
17   Defendants have directly and indirectly infringed the Asserted Claims pursuant
18   to 35 U.S.C. § 271. Aten also contends that Defendants have “willfully”
19   infringed the Asserted Patents. Each of Aten’s claims and Defendants’ relevant
20   contentions of facts and law will be addressed in turn.
21         b.      Plaintiff’s Damages Claims
22         The Court, in its Order re Defendants’ Motion for Summary Judgment on
23   Aten’s Lost Profits Damages, found that Aten could not maintain its claim for
24   lost profits damages as presented in its financial expert’s report. (See Dkt. No.
25   363). Without lost profits damages, only a claim for a reasonable royalty
26   remains. Aten’s reasonable royalty damages set forth in its expert report assume
27   a finding of infringement of at least one valid patent claim on all 34 of the
28   accused products it contends should be considered at trial.

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 1               I.   Plaintiff’s Damages Claims
 2         Aten’s total reasonable royalty only amounts to $682,382 for all thirty-four
 3   (34) accused product sales through July 15, 2016. However, the Prima T
 4   products must be removed from this calculation because they have never been
 5   sold in the U.S. Aten’s revised total is $517,683.
 6         The total royalty amount is significantly less when only the seven (7)
 7   permissible accused products are considered. See Uniclass’ table of
 8   Patents/Claims and Accused Products above; The Parties’ Respective Proposed
 9   Representative and Linked Products (Dkt. 350). The updated total damages
10   amount under Aten’s royalty calculation is $93,530. Again, this is under Aten’s
11   own damages expert’s calculation.
12              II.   Defendants’ Damages Claims
13         Conversely, under Defendants’ damages expert’s reasonable royalty
14   calculation for all of Aten’s thirty-four (34) accused product sales, the total
15   damages amount is only $87,542 for sales through July 15, 2016.
16         When the Prima T product line is removed because these products were
17   only sold outside of the U.S., this amount decreases to $65,546.
18         And again, the total royalty amount is even less when only the seven (7)
19   permissible accused products are considered. See Uniclass’ table of
20   Patents/Claims and Accused Products above; The Parties’ Respective Proposed
21   Representative and Linked Products (Dkt. 350). The total amount decreases to
22   $12,473.
23         Furthermore, Aten has not presented or identified any evidence that
24   Defendants, other than Uniclass, are susceptible to liability apart from Uniclass’
25   alleged infringement. If the above reasonable royalty were paid, then the other
26   Defendants would owe nothing as a single royalty per product may be attributed
27   to each sale under patent exhaustion. As such, these other defendants should be
28   dismissed, or alternatively severed from the case.

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 1            III.    Settlement
 2         At the total damage calculations presented under either Aten’s theory or
 3   Defendants’theory, this case is ripe for settlement. However, Aten insists upon
 4   injunctive relief and a settlement in the amount of its highest possible damages
 5   amount at trial, and treble damages. Aten further appears to believe that it will
 6   reverse the Court’s ruling on the Motion to Strike on appeal, and that all
 7   originally accused products should be assessed a royalty. Therefore, the parties
 8   have been unable to settle.
 9            IV.     Non-infringement
10         At trial, Plaintiff bears the burden of proving infringement by a
11   preponderance of evidence. E.g., Federal Circuit Bar Association Model Jury
12   Instructions, B.3.1.
13         Inasmuch as the Asserted Claims are method claims, Aten bears the
14   burden of proving that Defendants practice each and every step of the claimed
15   method(s). E.g., Federal Circuit Bar Association Model Jury Instructions, B.3.1.
16   Inasmuch as the Asserted Claims depend on Asserted Independent Claims, if the
17   Asserted Independent Claims are not infringed, then the Asserted Dependent
18   Claims cannot be infringed. E.g., Federal Circuit Bar Association Model Jury
19   Instructions, B.3.1 (“You must determine, separately for each asserted claim,
20   whether or not there is infringement. There is one exception to this rule. If you
21   find that a claim on which other claims depend is not infringed, there cannot be
22   infringement of any dependent claim that refers directly or indirectly to that
23   independent claim.”)
24                   i.     Literal Infringement
25         To decide whether Defendants’ accused products, and use of such
26   products, literally infringe any of the Asserted Claims, a comparison will need to
27   be made of Defendants’ accused products and their use with the patent claims to
28   determine whether every requirement of the claim(s) is included in each product

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 1   or use. If so, Defendants’ accused products and use literally infringes the claims.
 2   If, however, Defendants’ accused products and use do not meet every
 3   requirement in the patent claims, Defendants’ accused product(s) and use do not
 4   literally infringe those claims. Literal infringement for each asserted claim must
 5   be decided separately. E.g., Federal Circuit Bar Association Model Jury
 6   Instructions, B.3.3.
 7         In defense to the claims of infringement, Defendants will rely on the
 8   following key facts and evidence (which facts, evidence and arguments are
 9   detailed in the Dezmelyk Report and supporting documentation):
10             a. The structure and function of the accused products;
11             b. Technical documents, including but not limited to schematics, user
12                guides, source code, etc.;
13             c. Testimony of Uniclass personnel;
14             d. The expert report, together with related testimony of Defendants’
15                expert Robert Dezmelyk; and,
16             e. The prosecution histories of the Asserted Patents and cited prior art.
17         Defendants will also show that Plaintiff cannot meet its burden of proof as
18   Aten admitted that it did not secure evidence during fact discovery to meet its
19   burden at trial. During discovery, Aten failed to timely inspect the source code
20   associated with all but a handful of the accused products. As admitted by Aten’s
21   technical expert in his September 30, 2016 Expert Report of Dr. Tal Lavian
22   Regarding Infringement, Dr. Lavian was unable to assess infringement without
23   source code. Further, according to its expert and infringement contentions, Aten
24   has only inspected a few of the accused products. As such, Aten cannot meet its
25   burden of proof at trial.
26         During claim construction briefing, Aten’s previous expert, Mr. Narad,
27   opined that the Court’s construction concerning the “wherein” clause of claim 1
28   of the ‘287 Patent, and the construction Defendants proposed be readopted by the

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 1   Court, could not be implemented in the accused products. Examples of what Mr.
 2   Narad said include:
 3         For example, Defendants’ proposed construction [the construction
 4         the Court readopted] requires that “the data stream passing
 5         between the first computer system and the peripheral device is left
           uninterrupted” when the peripheral device is “switched from a first
 6         computer system to another computer system.” As discussed
 7         above, a data flow cannot be maintained between a peripheral
           device and a first computer if the peripheral device is switched to a
 8         different computer; if the channel is not connected then a data flow
 9         cannot exist. For this reason the proposed construction renders the
           construed claim not implementable.
10
11   (Dkt. 93-1 p. 33); and,
12
           a POSITA would understand that synchronous switching which
13         switched a peripheral device away from a first computer and to a
14         second computer, would of necessity interrupt a data flow between
           the first computer and the peripheral device.
15
16   (Dkt. 93-1 p. 34.) Consistent with this understanding, on May 25, 2016, then
17   counsel for Aten via email, notified Defendants that Aten would no longer be
18   asserting claim 1 of the ’287 Patent:
19
20
21
22
23
24
25
26
27
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 1               V.   There is No Infringement of Claim 1 of the ’287 Patent
                      Under the Doctrine of Equivalents
 2
           Aten contends that, notwithstanding the ’287 Patent’s requirement that
 3
     “[b]oth synchronous and asynchronous switching must be performed such that
 4
     the data stream passing between the first computer system and the peripheral
 5
     device is left uninterrupted at the time of switching,” dkt. no. 226, Defendants
 6
     may nonetheless infringe claims 1 and 6 of the ’287 Patent under the doctrine of
 7
     equivalents. Aten maintains, despite its counsel’s representations that it was
 8
     dropping claim 1, that it will assert this claim, and even if the jury determines
 9
     that there is no literal infringement because Defendants’ accused products cannot
10
     meet this limitation, Aten would be permitted to attempt to prove by a
11
     preponderance of the evidence that Defendants’ accused products infringe claim
12
     1 under the doctrine of equivalents.
13
           The Court, in its claim construction order, Dkt. No. 226, construed the
14
     “wherein” clause of claim 1 of the ’287 Patent,
15
16         wherein the console devices can be switched either synchronously
           or asynchronously with the one or more than one peripheral device
17         to the same one of the plurality of computer systems or to different
18         ones of the plurality of computer systems, without interruption of
           the signal to the one or more than one peripheral device
19
20   to mean a
21         [c]onsole devices can be switched among computer systems either
22         together with the switching of peripheral devices (i.e., synchronous
           switching) or independently (i.e., asynchronous switching.) Both
23         synchronous and asynchronous switching must be performed such
24         that the data stream passing between the first computer system and
           the peripheral device is left uninterrupted at the time of switching.
25
26   (Dkt. 226.)
27         Under the doctrine of equivalents, the accused products can infringe an
28   Asserted Claim only if its switching function is identical or equivalent to the

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 1   limitation as construed by the Court, “[c]onsole devices can be switched among
 2   computer systems either together with the switching of peripheral devices (i.e.,
 3   synchronous switching) or independently (i.e., asynchronous switching). Both
 4   synchronous and asynchronous switching must be performed such that the data
 5   stream passing between the first computer system and the peripheral device is
 6   left uninterrupted at the time of switching.” The accused products’ switching
 7   function is equivalent to this limitation if a person of ordinary skill in the field
 8   would think that the differences between the two were not substantial as of the
 9   time of the alleged infringement.
10         One way to decide if the two are equivalents is to consider whether, as of
11   the time of the alleged infringement, the accused products perform substantially
12   the same function, in substantially the same way, to achieve substantially the
13   same results as “[c]onsole devices can be switched among computer systems
14   either together with the switching of peripheral devices (i.e., synchronous
15   switching) or independently (i.e., asynchronous switching). Both synchronous
16   and asynchronous switching must be performed such that the data stream passing
17   between the first computer system and the peripheral device is left uninterrupted
18   at the time of switching.” Dkt. 226 (the Court adopting its prior claim
19   construction in ATEN International Co., Ltd. et al. v. Emine Technology Co.,
20   Ltd. et al., SACV 09-0843 AG (MLGx).)
21         Plaintiff may not use the doctrine of equivalents to establish infringement
22   if Defendants’ accused products operate the same as what was in the prior art
23   before the application for the ’287 Patent or what would have been obvious to
24   persons of ordinary skill in the field in light of what was in the prior art. A patent
25   holder may not obtain, under the doctrine of equivalents, protection that it could
26   not have lawfully obtained from the Patent and Trademark Office.
27         Also, there is no infringement under the doctrine of equivalents for claim 1
28   of the ’287 Patent because Aten cannot use this doctrine to extend claim 1’s

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 1   scope to cover the prior art it was amended to overcome. DeMarini Sports, Inc. v.
 2   Worth, Inc., 239 F.3d 1314, 1332 (Fed. Cir. 2001.) The doctrine of equivalents
 3   does not permit the patent holder to recapture through equivalents coverage
 4   surrendered during prosecution. Id. “Clear assertions made during prosecution in
 5   support of patentability, whether or not actually required to secure allowance of
 6   the claim, may … create an estoppel.” Southwall Techs., Inc. v. Cardinal IG Co.,
 7   54 F.3d 1570, 1583 (Fed. Cir. 1995.) The Court in this case has already found in
 8   its Claim Construction Order that “it is clear that the ability to switch
 9   synchronously and asynchronously without interruption of the data flow is the
10   crucial distinction from the prior art….” Dkt. 226 (the Court adopting its prior
11   claim construction in ATEN International Co., Ltd. et al. v. Emine Technology
12   Co., Ltd. et al., SACV 09-0843 AG (MLGx).)
13         Plaintiff may not use the doctrine of equivalents to establish infringement
14   if the subject matter alleged to be equivalent to a requirement of the patent claim
15   was described in the ’287 Patent but not covered by any of its claims. E.g.,
16   Federal Circuit Bar Association Model Jury Instructions, B.3.4.
17         In defense to a claim of infringement under the doctrine of equivalents,
18   Defendants will rely upon, inter alia, the content of the ’287 Patent and its file
19   wrappers, together with the law on surrender and file wrapper estoppel.
20            VI.    There is No Indirect Infringement
21         Liability for indirect infringement (inducement and/or contributory
22   infringement) must be predicated on a finding of direct infringement. Limelight
23   Networks, Inc. v. Akamai Techs., Inc., 134 S. Ct. 2111 (U.S. 2014); Akamai
24   Techs., Inc. v. Limelight Networks, Inc., 797 F.3d 1020 (Fed. Cir. 2015) (on
25   remand, en banc). Based on the law and the facts related to infringement and
26   divided infringement set forth above, Aten cannot prove direct infringement, and
27   thus, there can be no indirect infringement.
28

                                              26
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 1            VII.    There is No willful Infringement
 2          Plaintiff will bear the burden of establishing willfulness in accordance
 3   with the standard set forth above and governing law. In defense to the claim of
 4   willful infringement, Defendants will rely on at least the following key facts and
 5   evidence as set forth in the Expert Reports of Robert Dezmelyk and Scott
 6   Cragun, and portions of the Reports of Plaintiff’s Experts, the exhibits cited on
 7   the parties’ various exhibit lists, and deposition and live testimony of Aten and
 8   Uniclass. Defendants will show through the evidence referenced throughout this
 9   filing that:
10          (a) That one or more of the patents are not infringed either directly,
11              indirectly, or under the doctrine of equivalents.
12          (b) The one or more of the patents are invalid.
13          (c) Aten cannot establish that there ever has been a high likelihood that its
14              patents are valid and infringed.
15          (d) That Defendants had legitimate and credible defenses to assertions of
16              infringement.
17          (e) The claim construction in the Emine Litigation and this case establishes
18              non-infringement.
19          (f) The settlement by Aten with other accused infringers on the same
20              patents for no money and no injunctions.
21          (g) Defendants’ reliance on the claim construction in the Emine litigation
22              and concluding that they did not infringe or that the patents were
23              materially limited, was reasonable.
24          (h) Defendants’ understanding that the patents identified in the License
25              Agreement had been “materially limited”, pursuant to provision 4 of
26              that Agreement was reasonable.
27          (i) Plaintiff has asserted Patents against Defendants that it knows are not
28              infringed or not valid, including without limitation the ’275 patent and

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 1            the ’112 patent that were dropped from the case (and were identified in
 2            the License Agreement). This constitutes patent misuse and generally
 3            undermines Plaintiff’s arguments that the other Patents were knowingly
 4            and willfully infringed.
 5         (j) Aten maintained that the UKA-248/LKV-248AUSK infringed the ’141
 6            Patent for two years, even though Aten admitted in its Opposition to
 7            Defendants’ Motion for Partial Summary Judgment of Invalidity of the
 8            ’141 patent that it performed no or relatively little investigation or
 9            analysis as to the infringement of the UKA-248/LKV-248AUSK
10            against most of the asserted claims of the ’141 Patent, stating:
11
                  While ATEN included the LKV-248AUSK in the list of
12                products originally believed to infringe the ’141 Patent,
13                ATEN itself did not even chart many of the claims
                  against the LKV-248AUSK. Instead, ATEN only
14                charted claims 16-24 against that product (DKT 266-2
15                at 4.) Thus the vast majority of claims of the ’141
16                patent [sic] have never been compared to any LKV-
                  246AUSK [sic] product.
17
     (Aten’s International’s Opposition to Defendants’ Motion for Summary
18
     Judgment of Invalidity as to All Claims of U.S. Patent No. 8,589,141, dkt. no.
19
     301 at page 13:3-7 (emphasis added).)
20
           (k) Plaintiff cannot carry its burden, and has made no effort to establish an
21
              evidentiary groundwork, for showing willfulness for each Defendant.
22
           (l) In particular, Aten has provided no allegation or evidence regarding its
23
              willfulness claim against any defendant other than Uniclass.
24
            VIII.    Aten is not entitled to damages under its theories
25
           To establish that Aten is not entitled to damages under its reasonable
26
     royalty theory and an injunction, Defendants will rely on at least the key facts
27
     and evidence as set forth in the Expert Reports of Robert Dezmelyk and Scott
28
     Cragun, and portions of the Reports of Plaintiff’s Experts, the exhibits cited on
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 1   the parties’ various exhibit lists, and deposition and live testimony of Aten and
 2   Uniclass.
 3                IX.   The Asserted Claims Are Invalid and/or Not Infringed
 4         As discussed above and below, and as set forth in the Dezmelyk Report, if
 5   the Asserted Claims are applied as broadly as Aten now asserts in its
 6   infringement theories and contentions, the Asserted Claims are invalid in view of
 7   the prior art as both anticipated and obvious. Further, certain other claims of the
 8   Asserted Patents are invalid for failure to meet the requirements set forth in 35
 9   U.S.C. § 112. (See Dezmelyk Report.)
10                X.    Even Assuming Validity and Infringement, Aten’s Damages
11                      Are Limited to a Reasonable Royalty
12         The Court has already determined in its Order re Defendants’ Motion for
13   Summary Judgment on Aten’s Lost Profits Damages found that Aten cannot
14   meet its burden for lost profits damages. (See Dkt. No. 363). Thus, Aten, if it is
15   able to meet its burden of proving infringement, can only obtain reasonable
16   royalties.
17                XI.   Even Assuming Validity and Infringement, Aten is Not
18                      Entitled to an Injunction.
19         Aten is not entitled to injunctive relief because, among other things, it
20   cannot show irreparable harm. Aten did not seek a temporary restraining order
21   or preliminary injunction in this case, and instead opted for seeking money
22   damages at trial. It could not seek early injunctive relief because Aten could not
23   show a likelihood of success on infringement and validity of the asserted patents,
24   and still cannot. Further, Aten could not establish irreparable harm because all of
25   the relief it seeks can be quantified in money damages. If Aten cannot quantify
26   its damages to some degree, it is because Aten did not or cannot sufficiently
27   undertake evidentiary findings, not because it is entitled to injunctive relief. (See
28   Cragun and Dezmelyk Expert Reports of the Defendants and other evidence cited

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 1   in this section; see also Plaintiff’s expert reports of Lavian and Snell and their
 2   deposition transcripts, and exhibits thereto)
 3             XII.     Even Assuming Validity and Infringement, Aten is Not
 4                      Entitled to Damages for Any Activities Occurring Outside of
 5                      the US.
           Aten cannot provide any cognizable legal theory for obtaining damages on
 6
     sales of products outside of the United States. See 35 U.S.C. § 271(a). Aten has
 7
     no factual or legal basis for seeking damages on sales outside of the United
 8
     States.
 9
10             XIII.    Plaintiff is Not Entitled to Enhanced Damages or Attorneys’
                        Fees Because the Infringement, if Any, is Not Willful.
11
12         Aten is not entitled to enhanced damages or attorneys’ fees because the
13   infringement, if any, is not willful. Further Aten cannot meet any applicable test
14   under 35 U.S.C. § 285 and applicable case law including Octane Fitness, LLC v.
15   ICON Health & Fitness, Inc., 134 S. Ct. 1749 (2014). Instead, Defendants are
16   entitled to their attorneys’ fees and costs because this is an exceptional case
17   under those same standards as set forth below.
18
               XIV.     DEFENDANTS’ COUNTERCLAIMS AND AFFRIMATIVE
19                      DEFENSES
20
                       i.   Invalidity Based on § 112 –Lack Written Description and
21                          are Indefinite.
22
                            1. Lack of Written Description
23
           Defendants contend that the Asserted Claims of the ’289 and ’141 Patents
24
     are invalid because the specifications of the Asserted Patents do not contain an
25
     adequate written description of the invention.
26
           To succeed, Defendants must show by clear and convincing evidence that
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     the specification fails to meet the law’s requirements for written description of
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 1   the invention. E.g., Federal Circuit Bar Association Model Jury Instructions,
 2   B.4.2.a.
 3         In the patent application process, the applicant may keep the originally
 4   filed claims, or change the claims between the time the patent application is first
 5   filed and the time a patent is issued. An applicant may amend the claims or add
 6   new claims. These changes may narrow or broaden the scope of the claims. The
 7   written description requirement ensures that the issued claims correspond to the
 8   scope of the written description that was provided in the original application.
 9   E.g., Federal Circuit Bar Association Model Jury Instructions, B.4.2.a.
10         In deciding whether the patent satisfies this written description
11   requirement, the jury must consider the description from the viewpoint of a
12   person having ordinary skill in the field of technology of the patent when the
13   application was filed. The written description requirement is satisfied if a person
14   having ordinary skill reading the original patent application would have
15   recognized that it describes the full scope of the claimed invention as it is finally
16   claimed in the issued patent and that the inventor actually possessed that full
17   scope by the filing date of the original application. E.g., Federal Circuit Bar
18   Association Model Jury Instructions, B.4.2.a.
19         In support of it § 112 defenses and counterclaims, Defendants will rely on
20   the following key facts and evidence:
21         A.     The Asserted Patents, their file wrappers, together with related
22                testimony.
23         B.     All evidence and testimony used in defense of Aten’s claims of
24                infringement.
25         C.     The expert report, together with related testimony, of Robert
26                Dezmelyk.
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 1                       2. Asserted Claims are Indefinite
 2         Defendants contend that claim 6 of the ’287 patent is invalid as indefinite.
 3   “[A] single claim covering both an apparatus and a method of use of that
 4   apparatus” is invalid if “it is unclear whether infringement ... occurs when one
 5   creates a[n infringing] system, or whether infringement occurs when the user
 6   actually uses [the system in an infringing manner].” IPXL Holdings, LLC v.
 7   Amazon.com, Inc., 430 F.3d 1377, 1384 (Fed.Cir.2005). Claim 6 of the ’287
 8   Patent depends from independent claim 1, an apparatus claim, and independent
 9   claim 5, a method claim. In support of their indefinite claim, Defendants will rely
10   on the following key facts and evidence:
11              The Asserted Patents, their file wrappers, together with related
12                testimony.
13              All evidence and testimony used in defense of Aten’s claims of
14                infringement.
15              The expert report, together with related testimony, of Robert
16                Dezmelyk.
17
                         3. Invalidity Based on § 102 – Anticipation
18
           In order for someone to be entitled to a patent, the invention must actually
19
     be “new.” In general, inventions are new when the identical method has not been
20
     made, used, or disclosed before. Anticipation must be determined on a claim-by-
21
     claim basis. E.g., Federal Circuit Bar Association Model Jury Instructions,
22
     B.4.3.b.1.
23
           Defendants contend that all of the Asserted Claims are invalid because the
24
     claimed inventions were anticipated. Defendants must prove anticipation by clear
25
     and convincing evidence. E.g., Federal Circuit Bar Association Model Jury
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     Instructions, B.4.3.b.1.
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 1         Defendants may prove a patent claim was not new in a number of ways,
 2   including:
 3         (1) An invention is not new if it was known to or used by others in the
 4                United States before November 9, 2001 for the ’287 and ’217 Patents;
 5                November 8, 2001 for the ’289 Patent; and July 24, 2007 for the ’141
 6                Patent. An invention is known when the information about it was
 7                reasonably accessible to the public on that date; or
 8         (2) An invention is not new if it was already patented or described in a
 9                printed publication, anywhere in the world before November 9, 2001
10                for the ’287 and ’217 Patents; November 8, 2001 for the ’289 Patent;
11                and July 24, 2007 for the ’141 Patent. A description is a “printed
12                publication” only if it was publicly accessible; or
13         (3) Aten has lost its rights if the claimed invention was already patented or
14                described in a printed publication, anywhere in the world by Aten or
15                anyone else, more than a year before November 9, 2001 for the ’287
16                and ’217 Patents, November 8, 2001 for the ’289 Patent, and July 24,
17                2007 for the ’141 Patent, which are the effective filing dates of the
18                applications for the Asserted Patents. An invention was patented by
19                another if the other patent describes the same invention claimed by
20                Aten to a person having ordinary skill in the technology; or
21         (4) An invention is not new if it was described in a published patent
22                application filed by another in the United States or under the PCT
23                system and designated the United States, and was published in English
24                before November 9, 2001 for the ’287 and ’217 Patents, November 8,
25                2001 for the ’289 Patent, and July 24, 2007 for the ’141 Patent; or
26         (5) An invention is not new if the claimed invention was described in a
27                patent granted on an application for patent by another filed in the
28                United States or under the PCT system and designated the United

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 1              States, and was published in English and the application was filed
 2              before November 9, 2001 for the ’287 and ’217 Patents, November 8,
 3              2001 for the ’289 Patent, and July 24, 2007 for the ’141 Patent; or
 4         (6) Aten is not entitled to the Asserted Patents if the named inventors did
 5              not themselves invent the invention; or
 6         (7) An invention is not new if the invention was made by someone else in
 7              the United States before the invention was made by Plaintiff and the
 8              other person did not abandon, suppress, or conceal the invention.
 9   E.g., Federal Circuit Bar Association Model Jury Instructions, B.4.3.b.1.
10         In support of it § 102 defenses and counterclaims, Defendants will rely on
11   the following key facts and evidence (which facts, evidence and arguments are
12   detailed in Defendants’ Invalidity Contentions and the Dezmelyk Report):
13         A.     The Asserted Patents, their file wrappers, together with related
14                testimony.
15         B.     Additional patents owned by Aten, together with their file wrappers
16                and/or reexaminations.
17         C.     The Court’s claim construction.
18         D.     The parties’ claim construction briefing.
19         E.     Prior art, including without limitation, that disclosed in Defendants’
20                Invalidity Contentions and in the Dezmelyk Report.
21         F.     Dezmelyk Report, and Lavian Reports.
22         G.     Aten’s Original Infringement Contentions.
23
                        4. Invalidity Based on §103 – Obviousness
24
           Even though an invention may not have been identically disclosed or
25
     described before it was made by an inventor, in order to be patentable, the
26
     invention must also not have been obvious to a person of ordinary skill in the
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 1   field of technology of the patent as of March 29, 2001. E.g., Federal Circuit Bar
 2   Association Model Jury Instructions, B.4.3.c.
 3         Defendants must establish obviousness by clear and convincing evidence.
 4   E.g., Federal Circuit Bar Association Model Jury Instructions, B.4.3.c.
 5         In determining whether a claimed invention is obvious, the jury must
 6   consider the level of ordinary skill in the field of water treatment that someone
 7   would have had at the time the patent application was filed, the scope and
 8   content of the prior art, and any differences between the prior art and the claimed
 9   invention. E.g., Federal Circuit Bar Association Model Jury Instructions, B.4.3.c.
10         In considering whether a claimed invention is obvious, the jury may, but is
11   not required to find obviousness if it finds that at the time of the patent’s filing
12   date there was a reason that would have prompted a person having ordinary skill
13   in the field of water treatment to combine the known elements in a way the
14   claimed invention does, taking into account such factors as:
15         (1) whether the claimed invention was merely the predictable result of
16             using prior art elements according to their known function(s);
17         (2) whether the claimed invention provides an obvious solution to a known
18             problem in the relevant field;
19         (3) whether the prior art teaches or suggests the desirability of combining
20             elements claimed in the invention;
21         (4) whether the prior art teaches away from combining elements in the
22             claimed invention;
23         (5) whether it would have been obvious to try the combinations of
24             elements, such as when there is a design need or market pressure to
25             solve a problem and there are a finite number of identified, predictable
26             solutions; and
27         (6) whether the change resulted more from design incentives or other
28             market forces.

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 1   E.g., Federal Circuit Bar Association Model Jury Instructions, B.4.3.c.
 2         In support of it § 103 defenses and counterclaims, Defendants will rely on
 3   the following key facts and evidence (which facts, evidence and arguments are
 4   detailed in Defendants’ Invalidity Contentions and the Dezmelyk Report):
 5         A.         The Asserted Patents, their file wrappers, together with related
 6                    testimony.
 7         B.         Additional patents owned by Aten, together with their file wrappers
 8                    and/or reexaminations.
 9         C.         The Court’s claim construction.
10         D.         The parties’ claim construction briefing.
11         E.         Prior art, including without limitation, that disclosed in Defendants’
12                    Invalidity Contentions and in the Dezmelyk Report.
13         F.         Dezmelyk Report, and Lavian Reports.
14              XV.      This is an exceptional case, entitling Defendants to their
15                       attorneys’ fees and costs.
16         Due to Aten’s exceptional litigation tactics and behavior in this case,
17   Defendants will seek their costs and attorneys’ fees pursuant to 35 U.S.C. § 285;
18   “[t]he court in exceptional cases may award reasonable attorney fees to the
19   prevailing party.” See also Octane Fitness, LLC v. ICON Health & Fitness, Inc.,
20   134 S. Ct. 1749 (2014). Under 35 U.S.C. § 285, courts have discretion to award
21   reasonable attorneys’ fees in patent infringement cases that are deemed
22   “exceptional.” E.g., Mathis v. Spears, 857 F.2d 749, 754 (Fed. Cir. 1988). A case
23   may also be found exceptional if it is (1) brought subjectively in bad faith and (2)
24   is objectively baseless. Brooks Furniture v. Dutailier Int’l, 393 F.3d 1378, 1381
25   (Fed. Cir. 2005). Where a patentee knew or should have known that its asserted
26   claims are not infringed, a court may infer that the case was brought or
27   maintained in bad faith. See, e.g., Kilopass Technology, Inc. v. Sidense Corp.,
28   738 F.3d 1302, 1309-12, 1315 (Fed. Cir. 2013) (holding that objective or

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 1   subjective bad faith prosecution of claims can be the basis for attorneys’ fees).
 2   Subjective bad faith can be inferred where the patentee deliberately failed to
 3   investigate whether a claim element was absent from the accused device. See id.
 4         Defendants plan to ask this Court to declare the case exceptional and for
 5   an award of their attorneys’ fees incurred as a result of having to defend against
 6   Plaintiff’s unusual and improper litigation approach, as well as taking
 7   unsupportable procedural and substantive positions in the case that have
 8   unnecessarily multiplied the proceedings and increased the fees and costs against
 9   the Defendants who are their market competitors.
10         Plaintiff’s filing its complaint in Texas, despite this Court having already
11   construed significant claim terms at issue, and forcing Defendants to comply
12   with an accelerated docket and redo work that had already been performed before
13   this Court in prior cases was an unnecessary and wasteful litigation tactic.
14   Defendants prevailed in transferring the case to this district and away from the
15   Eastern District of Texas. This Court then applied its same prior claim
16   constructions to every previously construed claim term in accordance with
17   Defendants’ early warnings to Plaintiff that this would likely be the outcome, and
18   that Plaintiff should not take infringement positions that expanded the meaning
19   of the terms unreasonably beyond this Court’s constructions from the Emine
20   Litigation.
21         Plaintiff's shotgun approach of asserting 6 patents and 72 claims against
22   more than 125 accused products has made this case unwieldy from the start.
23   Plaintiff accused, and has continued to accuse, products that are and were not
24   sold in the United States, and maintained infringement allegations against those
25   products even though evidence had been provided that they could not infringe
26   under U.S. patent law.
27         Defendants are already prevailing parties with respect to the ‘275 Patent
28   and the ‘112 Patent that were dismissed from this case after claim construction

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 1   and repeated demonstrations to Plaintiff’s counsel that it was asserting a patent
 2   claim that was mistakenly allowed through a clercal error of the USPTO.
 3         Defendants were successful in striking Plaintiff’s expert report resulting in
 4   a reduction of nearly 100 accused products down to 34 accused products or less.
 5   Yet, during the entire pendency of the action, including claim construction and
 6   discovery, Defendants were required to address all asserted claims and undertake
 7   infringement/non-infringement and invalidity analyses as to all accused products.
 8   Plaintiff’s shotgun strategy ran up costs unnecessarily.
 9         As the case moved towards trial, Defendants sought to work with Plaintiff
10   in vacating the trial date when it became clear that trial prep on the more than
11   120 accused products would become unnecessary if all, or a part of the motion to
12   strike and partial motions for summary judgment were granted. Plaintiff refused.
13   The result was that Defendants were required to conduct trial prep on all accused
14   products that resulted in significant unnecessary costs. Plaintiff’s lack of
15   diligence in accusing many products that simply could not infringe – even when
16   put on express notice of flaws in Plaintiff’s analysis makes this case exceptional.
17   Ultimately, the trial prep was unnecessary as along the lines of Defendants’
18   request the date was moved.
19         Adding to these unnecessary complication and expenditure of both the
20   parties' and Court's resources, is Plaintiff changed law firms more than four times
21   during the case and changed lead trial counsel more than five times. Each
22   change caused time and expense to be incurred by Defendants in retreading many
23   agreements of counsel and issues that had been resolved, or could not be resolved
24   because of the changes. Many deadlines including discovery and expert reports
25   were repeatedly extended to accommodate changes in counsel. Source code
26   review, that became the focus of many disputes and motion practice, would have
27   been substantially streamlined if Plaintiff had not changed counsel multiple
28   times. Eventually, Plaintiff agreed to pay some of Defendants’ costs associated

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 1   with post-discovery source code review, evidencing the injustice that was and
 2   continued to occur. However, Plaintiff has failed to make any such agreed to
 3   payment.
 4          Defendants will also seek attorneys’ fees as the prevailing party pursuant
 5   to 35 U.S.C. § 284.
 6
 7          Third Party Plaintiffs and Defendants:
 8                  There are no similar statements for third parties.
 9
10          8.      In view of the admitted facts and the elements required to establish
11   the claims, counterclaims and affirmative defenses, the following issues remain
12   to be tried:
13          Claims and defenses related to the issues of injunctive relief and
14   exceptional case are issues of law for the Court to decide; each has been outlined
15   above. Plaintiff ATEN reserves the right to raise additional issues of law as they
16   become apparent.
17          9.      All discovery is complete.
18          10.     All disclosures under F.R.Civ.P.26(a)(3) have been made.
19          The joint exhibit list of the parties has been filed under separate cover as
20   required by L.R. 16-61. Unless all parties agree that an exhibit shall be
21   withdrawn, all exhibits will be admitted without objection at trial, except for the
22   objections indicated in the attached Appendix.
23          11.     Witness lists of the parties have been filed with the Court. Each
24   party intending to present evidence by way of deposition testimony has marked
25   such depositions in accordance with L.R. 16-2.7. For this purpose, the following
26   depositions shall be lodged with the Clerk as required by L.E. 32-1: None.
27          12.     The following law and motion matters and motions in limine, and
28   no others, are pending or contemplated:

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 1                Plaintiff’s Motion to Exclude Expert Testimony (Dkt. 294)
 2                Plaintiff’s Motion in Limine 1 to Preclude Unproduced Source Code
 3                  (Dkt. 308)
 4                Plaintiff’s Motion in Limine 2 to Exclude Argument That the
 5                  ATEN/Uniclass License Agreement Only Includes Three Patents
 6                  (Dkt. 323)
 7                Plaintiff’s Motion in Limine 3 to Exclude Expert Testimony (Dkt.
 8                  313)
 9                Plaintiff’s Motion in Limine 4 to Exclude Reference to Forum-
10                  Shopping (Dkt. 324)
11                Plaintiff’s Motion in Limine 5 to Exclude Expert Testimony of
12                  Cragun (Dkt. 312)
13                The Parties’ Respective Proposed Representative and Linked
14                  Products (Dkt. 350);
15                Defendants’ Motion in limine 1 to Exclude Expert Opinions and
16                  Testimony of Tal Lavian (Dkt. 368);
17                Defendants’ Motion in limine 2 to Exclude Claims Against
18                  Defendants Other than Uniclass Technology, Co. Ltd. (Dkt. 369);
19                Defendants’ Motion in limine 3 to Exclude the Expert Opinion of
20                  Jeffrey Snell (Dkt. 371); and,
21                Defendants’ Motion in limine 4 to Exclude Any Claim or Evidence
22                  of Breach of Contract (Dkt. 373).
23         13.      Bifurcation of the following issues for trial is ordered:
24         Plaintiff’s Position: None.
25         Defendants’ Position: Defendants, as set forth in their Motion in limine to
26   Exclude Claims Against Defendants other than Uniclass Technology, Co. Ltd.
27   believe that for a more orderly and efficient trial that these defendants should be
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 1   severed from the case as any and all relief Aten has requested can be taken
 2   against the Uniclass Defendant.
 3         14.    The foregoing admissions having been made by the parties, and the
 4   parties having specified the foregoing issues remaining to be litigated, this Final
 5   Pretrial Conference Order shall supersede the pleadings and govern the course of
 6   the trial of this cause, unless modified to prevent manifest injustice.
 7
 8         Pretrial Conference Order shall supersede the pleadings and govern the
 9   course of the trial of this cause, unless modified to prevent manifest injustice.
10
             6/5/2017
     Dated: ____________                     ________________________________
11                                           UNITED STATES DISTRICT JUDGE
12                                            ANDREW J GUILFORD

13
14
15
     Dated: May 25, 2017                     Respectfully Submitted,
16
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